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                   COMPOSITE EXHIBIT A
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   FORM 1.997. CIVIL COVER SHEET

   The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
   or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
   Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
   completion.)


       I.           CASE STYLE
                                         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                                          IN AND FOR MIAMI-DADE COUNTY, FLORIDA



                                                                       Case No.: _ _ _ _ _ _ __
                                                                       Judge : ~~~~~~~~~
  Neiman Nix
   Plaintiff
                   vs.
   The Associated Press. Inc.
   Defendant


       II.          TYPE OF CASE

                                                                               D     Non-homestead residential foreclosure
               D Condominium                                                         $250,00 or more
               D Contracts and indebtedness                                    D     other real property actions $0 - $50,000
               D Eminent domain                                                D     other real property actions $50,001 - $249,999
               D Auto negligence                                               D     Other real property actions $250,000 or more
               D Negligence - other
                 D     Business governance                                     D     Professional malpractice
                 D     Business torts                                                  D      Malpractice - business
                 D     EnvironmentalfToxic tort                                        D      Malpractice - medical
                 D    Third party indemnification                                      D      Malpractice - other professional
                 D    Construction defect                                      t8J   Other
                 D     Mass tort                                                       D      AntitrustfTrade Regulation
                 D     Negligent security                                              D      Business Transaction
                 D     Nursing home negligence                                         D      Circuit Civil - Not Applicable
                 D     Premises liability - commercia l
                                                                                       D      Constitutional cha llenge-statute or
                                                                                              ordinance
                 D     Premises liability - residential
                                                                                        D     Constitutional challenge-proposed
               D Products liability                                                           amendment
               D Real Property/Mortgage foreclosure                                    D      Corporate Trusts
                 D    Commercial foreclosure $0 - $50,000                              D      Discrimination-employment or other
                 D    Commercial foreclosure $50,001 - $249,999                        D      Insurance claims
                 D    Commercial foreclosure $250,000 or more                          D      Intellectual property
                 D     Homestead residential foreclosure $0 - 50,000
                                                                                       t8J    Libel/Slander
                 D     Homestead residential foreclosure $50,001 -                     D      Shareholder derivative action
                      $249,999
                                                                                       D      Securities litigation
                 D     Homestead residential foreclosure $250,000 or
                       more                                                            D      Trade secrets
                 D     Non-homestead residential foreclosure $0 -                      D      Trust litigation
                      $50,000
                 D     Non-homestead residential foreclosure
                      $50,001 - $249,999
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                                                 COMPLEX BUSINESS COURT

        This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
        Administrative Order. Yes D No 0


        Ill.    REMEDIES SOUGHT (check all that apply) :
                   0  Monetary;
                   0 Non-monetary declaratory or injunctive relief;
                   0 Punitive

        IV.     NUMBER OF CAUSES OF ACTION: (
                (Specify)




        V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                    D Yes
                    0 No

        VI.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   0 No
                   D Yes - If "yes" list all related cases by name, case number and court:



        VII.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                    0 Yes
                    D No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature s/ Alex S. Hornik       FL Bar No.: 743895
          Attorney or party                                               (Bar number, if attorney)

        Alex S. Hornik           03/13/2018
                (Type or print name)                                         Date
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                                                                      lN   THt     LlKLUlT     LUUKl      Uf THE
                                                                      ELEVENTH JUDICIAL CIRCUIT IN AND
                                                                      FOR MIAMI-DADE COUNTY, FLORIDA

                                                                      GENERAL          JURISDICTION     DIVISION

                                                                      CASE NUMBER:        ~~~~~~~~




      NEIMAN NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

                 Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

             Defendants.
                                                                 I

                              VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

                     COME NOW the Plaintiffs, NEIMAN NIX and DNA SPORTS PERFORMANCE LAB, INC.,

      by and through their undersigned attorney, sue the Defendants, ESPN, INC., a Connecticut corporation,

      THE ASSOCIATED PRESS, INC. a New York nonprofit cooperative, and USA TODAY

      INTERNATIONAL CORPORATION, a Delaware corporation, and in support thereof states as follows:

            1.      This is an action for damages exceeding $15,000.00 exclusive of interest, costs, and attorney's

      fees , and for injunctive relief, and is within the jurisdiction of the Court.

            2.       At all relevant times, DEFENDANT ESPN, INC. ("DEFENDANT ESPN") was a corporation

      organized and existing under the laws of the state of Connecticut and transacting systematic business in

      the state of Florida.

            3.       At all relevant times, DEFENDANT THE ASSOCIATED PRESS, INC., ("DEFENDANT AP")

      was a not-for-profit news cooperative organized and existing under the laws of the state of New York and

      authorized to transact business in the state of Florida and transacting systematic business in the state of


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Florida.

   4.      At all relevant times, DEFENDANT USA TODAY INTERNATIONAL CORPORATION

("DEFENDANT USA") was a corporation organized and existing under the laws of the state of Delaware

and the publisher of a daily newspaper named "USA Today."

   5.      DEFEN DANTS are subject to the personal jurisdiction of this Court pursuant to Florida's Long-

Arm Statute, Florida Statute Section 48.193(2), by virtue ofhaving committed tortious acts within the state

or which caused injury within the state.

   6.      Venue is proper in Miami-Dade County, Florida since the causes of action sued upon arose here.

   7.      All conduct on the part of PLAINTIFF DNA Sports Performance Lab, Inc. ("DNA") and

DEFENDANTS as described herein was carried out by their duly authorized agents acting w ithin the scope

of their respective authority as such.

   8.      PlaintiffNeiman NIX (''NIX") is a former professional baseball player selected straight out ofhigh

school in the 1998 Major League Draft by the Cincinnati Reds and later signed by Milwaukee Brewers.

Unfortunately, NIX's career as a professional player was cut short by arm injuries, the w idespread

occupational hazard which had always plagued pitchers.

   9.      Following NIX's retirement from professional baseball, he pursued various employment and

business opportunities connected with the sport he loved and to which he had devoted his life. First he

coached college baseball. His experience there led him to the realization that the standard training program

used by colleges and universities needed to be updated and improved by an individualized and scientific

methodology aimed at maximizing the potential of each player relative to particular skills and team

positions. Over the next few years, NIX developed a better system of training based on his growing

knowledge and experience in the fields of sports medicine and bio-mechanics.

   10.     Draw ing inspiration from years of detailed training, study, trial, and error in development of new

pitching techniques, NIX conceived a new form of pitching. NIX then incorporated his new pitching


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method into a complete system of biometric analysis, data collection, individualized training, and physical

therapy which he developed in the expectation of teaching those aspiring to pitch professionally how to

maximize their athletic performance while at the same time avoiding undue injury, rehabilitating injuries,

and prolonging their active careers. NIX made use of various pieces of sophisticated equipment and

computer programs as part of his diagnostic and training program, including a motion image tracking

device showing baseball and fitness related movement in a computer generated, 3-D rotational animation

and integrated with scientific data for purposes of his program.

   11.   In 2006, NIX went into business for himself by opening a year-round training and development

center for athletes aspiring to college or professional baseball careers. F irst located in Seattle, Washington,

his American Baseball Institute provided his students with housing, individualized training and testing,

intensive daily practice, and the opportunity for regular exposure to MLB and college scouts through open

try-outs and exhibition games with minor league teams. NIX hired many former professional players and

coaches to work as the camp 's staff. The success ofNIX's business outgrew its venue twice until it finally

took over the former Philadelphia Phillies spring training stadium in Clearwater, Florida. Scouts from all

thirty (30) MLB teams were deeply impressed with NIX's program. Their regular visits to his facility

resulted in the signing of professional contracts for hundreds of his student prospects and contributed

significantly to the growth of the baseball industry.

   12.   The growth and financial potential ofNIX's baseball training academy were largely lost, however,

to an unforeseeable outside force. NIX's business reputation and connections in the baseball community

had been damaged by the malicious investigatory methods of Major League Baseball ("MLB") employed

in its heavy-handed and unfounded inquiry into allegations of improprieties in the operation of NIX's

business. As a result, was forced to sell ninety per cent (90%) of his stock in American Baseball Institute

in late 2011.

   13.   NIX launched a new business in the form a state-of-the-art sports science center in Miami Beach,


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Florida in April of 2012. Named "DNA Sports Performance Lab, Inc.", the co-plaintiff herein, DNA

provided diagnostic sports training and fitness testing services in addition to selling health supplements

made from the certain substances extracted from the shed tissue of elk antlers, also known as "deer antler

velvet". There were two, complimentary sides to DNA's sports science business. On the one hand, DNA

offered the use of sophisticated equipment and techniques to scientifically analyze each client's particular

physical and physiological profile to determine what regimen of exercise, training, nutrition, and

supplements to recommend, and then worked closely with that client to implement that program. The other

part of DNA 's business was the sale of health supplements manufactured to the highest clinical standards

and commonly referred to as "bio-identical compounds" or "nutraceuticals"

   14. DNA sells one such prominent form which is derived from the humanely-harvested antler tissue

naturally shed by elk, one of the largest species in the deer family, as part of their annual, antler molting

and regeneration process. This substance has been used in Chinese medicine for centuries as a cure and

treatment for various chronic diseases as well as a tonic and energizer. Deemed safe and effective, and

available without a doctor's prescription, the antler extract is formulated into natural, non-steroid

supplements which can legitimately be claimed to increase physical strength, enhance athletic performance,

increase energy levels, retard the aging process, sharpen memory and concentration, rejuvenate the libido,

and provide many other health benefits.

   15.   The line of products derived from antler tissue and sold by DNA has never been prohibited by the

Worldwide Anti-Doping Agency (WADA), an international independent agency founded in 1999 to

combat the use of performance enhancing substances in sports. Neither NIX nor DNA has ever sold or

even recommended the use of anabolic steroids, commonly known as performance enhancing drugs

("PEDS"). The formulas they developed were designed as natural and safe alternatives to PEDS. The sports

world has had a well-publicized problem with PEDS for many years now. DNA's business philosophy was

in the opposite direction, advocating against the use of such illegal substances. The mission of DNA, as


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its name imp lies, is to maximize an athlete's innate physical potential through the application of medically

and scientifically sound and safe principles and methods. The active ingredient in the supplements

developed and sold by NIX and DNA is a naturally occurring, bio-identical form ofIGF-1 which is found

in foods such as milk, meat, fish, whey protein, and in the human body. NIX never tried to sell or market

these natural performance supplements to any MLB players on account of a non-competition agreement

with the purchasers of his former interest in American Baseball Institute.

   16. Nevertheless, NIX was the target of a second, misbegotten investigation ofMLB in the first half

of2013 falsely accusing him of selling ii.legal performance enhancing drugs to MLB players. MLB's focus

on NIX and DNA was part of its larger crusade to rid the sport of the perceived widespread use of such

drugs. Prompted by the scandal created by the association of several prominent MLB players, including

Alex Rodriguez, with South Florida's "Biogenesis Clinic", MLB investigated into every anti-aging clinic

in the state in order to try to polish its own image and included DNA in its sights.

   17.   Again resorting to recklessly incriminating tactics which created the impression of guilt in the

minds of those it contacted, MLB's investigators posed as FBI and DEA officials and questioned NIX's

clients and colleagues. Not one shred of evidence was ever uncovered proving that NIX or DNA sold any

illegal substance to any MLB player or that any MLB player ever tested positive for any product sold by

NIX. But the bullying tactics used by MLB's agents in trying to elicit the damning evidence had the

effecting of planting enough doubt to cause great harm. NIX's business reputation was again dragged

through the mud without any credible bas is and NIX again suffered an economic blow to a growing

business with great promise on account of MLB's malicious and slanderous campaign of blame against

an honest and dedicated entrepreneur.

   18.   NIX and DNA filed suit for tortious interference in July of 2016 in Federal Court, Southern

District ofNew York, Case Number 1: 16-cv-05604 to redress the devastating economic harm and personal

offenses they suffered at their hands ofMLB in the course of the two groundless investigations into alleged


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wrongdoing it rationalized on the thinnest of leads. Reporting on this lawsuit the very same day it was

filed, DEFENDANTS ESPN and USA each disseminated a news article on July 14, 2016 which had been

authored DEFENDANT AP, and which contained the following statement: "The suit admits Nix and his

company used bioidentical insulin like growth factor (IGF-1), which is derived from elk antlers and

is    on    baseball's     list   of   banned       substances."      These     articles    can   be    found

athttp://www.espn.com/mlb/story/ _/id/17078668/major-league-baseball-sued-dna-sports-performance-l

ab -o wner -all eged -ill ega l-ha cking -bio genesis -in ves tigation                                     and

https://www .usatoday.com/story/sports/mlb/2016/07I14/training-clinic-owner-sues-mlb-alleging-illegal

-hacking/870964 78/.

     19. The clear meaning and import of this statement is that NIX and DNA peddled illegal drugs to

professional baseball players and that they admitted so in the context of their lawsuit.

     20. This statement is false in both its literal expression, as well as in the innuendos it creates.

     21.   The complaint in the lawsuit cited by the offending statement specifically alleges the following:

     A.    Naturally occurring, bio-identical IGF-1 , extracted from the antlers of elk and deer, is not a

           controlled or illegal substance.

     B.    The use of naturally occurring, bio-identical IGF-1 , extracted from the antlers of elk and deer, is

           not prohibited by MLB or MLB Player's Association.

     C.    Naturally occurring, bio-identical IGF-1 is also found in milk, meat, fish, whey protein, and in

           every human body.

     D.    Neither NIX nor DNA ever sold any extracts or compounds derived from elk or deer antlers to any

           MLB players.

     E.    Extracts from elk or deer antlers are not considered illegal by the U.S. Drug Enforcement Agency

           (DEA) nor are these banned by the World Anti-Doping Agency (WADA). A deposition transcript

           from WADA ' s head science director stating that deer antler has never been banned can be found


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         at:https://iapps.courts.state.ny.us/nyscef/ViewDocument?doclndex=uTt5RNTq/BtWZtZfCjZJ

         ow==.

   22.   The offending statement is highly defamatory since it confuses the critical distinction between the

natural and synthetic forms of IGF-1. The term 'bio-identical" means natural, non-synthetic, and

non-altered, just as NIX' s federal complaint describes it. All animal products are considered natural. They

are completely different from lab-made, synthetic drugs which are classified by the U.S. Drug Enforcement

Agency as Schedule ill substances. Animal derived products are consumed by every human being and have

never been considered banned substances under any definition. The synthetic form of IGF-1 is a Schedule

ill illegal drug in the same category as cocaine and methamphetamine. The penalty for selling Schedule

III illegal drugs can be 10 years in prison. The offending statement is defamatory in a second sense by

suggesting that NIX, a former MLB player himself, and DNA, sold substances banned by MLB rules to

MLB players, even if they were not controlled or illegal substances p er se.

   23.   DEFENDANTS ' statement clearly implies that NIX and DNA sold illegal drugs, or legal drugs

in an illegal manner, and has damaged their respective reputations for integrity and honesty.

   24.   DEFENDANTS publicized the offending statement to their readership when each of them knew,

or clearly should have known, it was literally false and/or false by implication. MLB has never stated that

deer or elk antler extract is a prohibited or banned substance. On the contrary, MLB has deferred to WADA

on this subject and WADA has upheld its use. And PLAINTIFFS ' lawsuit certainly does not admit to the

contrary.

   25.   The MLB Players Association ("MLBPA"), the collective bargaining representative for all MLB

players, sent a memo authored and signed by its general counsel, Bob Lenaghan, to all of its members in

July of 2011 warning them that one particular brand of deer-antler spray m entioned in the memo may

contain synthetic steroid substances that will cause a positive                 drug test in     the user.



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https://iapps. courts .state.ny. us/nyscefN iewDocument? doclndex=sF gd/JulzyC9Dx5wCRuJ9Q==. The

product was called "The Ultimate Sports Spray" and was manufactured by "Sports With Alternatives To

Steroids'', also known as "S.W.A.T.S". The memo identifies NFL player David Vobora as having tested

positive for the synthetic steroid, Methyltestosterone, after using this deer-antler spray. But the memo does

not prohibit the use of deer-antler products in general. The memo goes on to state that supplements

certified to be free of banned substances can be identified by reference to a list found online

(www .nsfsport.com) and that this list is periodically updated. The collective bargaining agreement between

the commissioners of MLB and its players refers to WADA for all drug testing and for the authoritative

identification of all banned substances. Deer and elk antler have never been listed among them.

   26.   On December 6th, 2016 David Voborawas sued bya former shareholderofS.W.A.T.S. in Federal

Court, Eastern District of Missouri, in case number 4: 16-cv-O 1895-RWS. The suit is based on accusations

that Mr. Vobora intentionally contaminated an open bottle of the product with Methlytestosterone as part

of a scheme to concoct a fraudulent claim against the company. Deliberating causing himself to fail an NFL

drug test which he blamed on the product, Mr. Vobora then recovered a default judgment in the amount

of $5,400,588 against S.W.A.T.S. for his resulting 2009 suspension. This default judgment is what the

MLBPA memo refers to when it says David Vobora successfully sued this company. The complaint to

overturn this default judgment alleges that samples of this product from the same lot as the one associated

with the sample David Vobora purportedly used were tested and found to be negative. Other pro athletes,

including MLB players who allegedly used the product from the same lot, were likewise all found be free

of the banned synthetic steroid. The complaint confirms PLAINTIFFS' position that Methyltestosterone

is a "manufactured synthetic compound not found in nature, .. .it is an anabolic steroid ...and a controlled

substance... and that in 2013 the World Anti-Doping Agency removed deer antler velvet from its list of

banned substances." The default was upheld by the court on purely procedural grounds.

   27.   DEFENDANTS had only to fact-check their story against the lawsuit complaint to which it refers

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to know the offending statement was false.

   28.   Even more egregious is an article published by DEFENDANT ESPN on May 1, 2013 in which

this news organization itself stated, "the PGA Tour followed up with the World Anti-Doping Agency

which told the tour it no longer considered deer-antler velvet and IGF-1 a prohibited substance."

http://www.espn.com/blog/playbook/dollars/post/_/id/3414/big-break-for-deer-antler-velvet. In spite of

DEFENDANT ESPN's position on this issue, MLB saw fit to use the offending article in support of its

motion to dismiss NIX's New York lawsuit against MLB for tortious interference and slander. MLB has

a multi-billion dollar broadcasting agreement with DEFENDANT ESPN and is advocating DEFENDANT

ESPN's unfounded and defamatory position in its defense of PLAINTIFFS' slander claim against MLB.

   29.   DEFENDANTS' offending article was similarly used as the basis to falsely discredit

PLAINTIFFS during their deposition in a recent lawsuit between PLAINTIFFS and an upscale fitness

center chain arising out of a business agreement which allowed PLAINTIFFS to expand their sports

science centers to three locations in Manhattan. In this case, PLAINTIFFS were specifically asked about,

and vehemently denied, the report in the offending article that they sold banned substances to MLB players

and others.

   30.   DEFENDANTS AP and USA have also both reported previously that natural IGF-1 in the form

of deer antler is not a banned substance as related articles can be found from the AP:

http: //www. go lf. com / ap-news / tour-dro p s-i ts-do ping-case-agains t-v ij ay-s ingh ,

http: I I w w w. golf.com I ap - news I sing h - suing-pg a - over-proposed- s us pen s ion ,

http://www.pga.com/news/golf-buzz/vijay-singh-tums-back-time-in-hunt-players. From DEFENDANT

USA:

https://www .usatoday.corn/story/sports/golf/2014/02/18/golf-vij ay-singh-gets-key-ruling-in-lawsuit-ag

ainst-pga-tour/5595085/.

   31.   On December 26, 2017, PLAINTIFFS demanded that DEFENDANTS AP and ESPN print a


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 retraction of the offending article, but they flatly refused and gave as their reason," IGF-1 appears at entry

 number 68 on MLB's ' Prohibited Substance List. ' In addition, MLB confirmed to the AP that 'all natural,

 synthetic and bioidentical versions of any prohibited substances -- including, but not limited to, IGF-1 --

 are considered banned.' "

    32.   The MLB prohibited list reads in relevant part: "Section B. Performance Enhancing Substances

 it: Any and all anabolic androgenic steroids covered by Schedule III of the Code of Federal Regulations'

 Schedule of Controlled Substances ("Schedule III"), as amended from time to time, and the categories of

 hormones and agents with antiestrogenic activity that are set forth in Nos. 67 - 74 below, shall be

 considered Performance Enhancing Substances covered by the Program. Anabolic androgenic steroids,

 hormones, and agents with antiestrogenic activity, that may not be lawfully obtained or used in the United

 States (including, for example, "designer steroids" and peptide hormones) also shall be considered

 Performance Enhancing Substances irrespective of whether they are covered by Schedule III. The

 following is a non-exhaustive list of substances that shall be considered Performance Enhancing

 Substances covered by the Program .. "

 (https://iapps.courts.state.ny.us/nysceflViewDocument?doclndex=D7u_PLUS_ cyMCZNOEbsgpZY cj9

 Q==). Elk and deer antler have never been declared a Schedule III drug and have always been available

 for lawful purchase without a prescription in the United States.

    33.   All conditions precedent to the institution of this lawsuit have been performed, have occurred,

 or have been excused.

    34.   PLAINTIFFS have retained the undersigned attorney to represent them in this matter, and are

 obligated to pay a reasonable fee for the undersigned attorney's services.

                                                COUNT I
                                              DEFAMATION

    35.   PLAINTIFFS repeat and re-allege paragraph 1 through 34 of this Complaint as though fully set

 out as the same numbered paragraphs of Count I, and further states as follows:

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    36.      DEFENDANTS, and each of them, widely disseminated false and defamatory assertions and

 innuendos of fact concerning both PLAINTIFFS through their respective mass publications of the subject

 material.

    37.      DEFENDANTS' false and defamatory statement impugned the business and professional integrity

 of both PLAINTIFFS by portraying them as knowingly marketing and selling banned performance

 enhancing substances, and have thereby subjected PLAINTIFFS to hatred, distrust, ridicule, contempt,

 and/or disgrace.

    38.      DEFENDANTS, and each of them, knew or should have known these assertions and innuendos

 were false at the time they were made through the respective publications and re-publications.

    39.      DEFENDANTS, and each of them, acted with the express intention of injuring PLAINTIFFS'

 reputations in the business community by publishing statements known to be false or in reckless disregard

 of their potential falsity.

    40.      DEFENDANTS, and each of them, acted with actual, express malice.

    41 . As a direct, proximate, and foreseeable result ofthese false, malicious, and defamatory statements

 to third-parties about PLAINTIFFS, PLAINTIFFS have been greatly damaged, and continue to be damaged

 to this very day.

    42.      PLAINTIFFS ' damages include but are not limited to past, present, and future loss of business

 contracts, income, profits, market value, opportunities, and relationships.

    43.      PLAINTIFF NIX has also suffered and continues to suffer mental anguish, humiliation, and

 emotional distress.

    44.      PLAINTIFFS reserve the right pursuant to Florida Statute Section 768.72 to claim punitive

 damages in this matter on account of DEFENDANTS' gross and uncivilized misconduct in taking action

 known to be wrongful and injurious to PLAINTJFFS or in reckless disregard of the high probability of

 injury to PLAINTJFFS.



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                                                           CASE NUMBER: _ _ _ _ _ _ _ _ _ __

    WHEREFORE, PLAINTIFFS, as their interests appear, demand judgment against DEFENDANTS,

jointly and severally, for compensatory damages, punitive damages, costs, attorney's fees, and any other

 relief deemed just and proper by the Court.

                                      COUNT II
                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


    45.   PLAINTIFFS repeat and re-allege paragraph 1 through 34 of this Complaint as though fully set

 out as the same numbered paragraphs of Count II, and further state as follows:

    46.   The actions and intentions of DEFENDANTS in publishing knowingly or recklessly false and

 defamatory statements clearly calculated to damage the good name and reputation of PLAINTIFFS by

 portraying them as peddlers of illegal drugs are so outrageous, uncivilized, and intolerable as to justify

 the imposition of monetary liability for its foreseeable psychological injuries.

    47. NIX has in fact suffered and continues to suffer extreme emotional distress, mental anguish,

 humiliation, depression, and associated ailments and symptoms as a direct consequence of

 DEFENDANTS' willful, wanton, and malicious actions. NIX has suffered such great emotional distress

 over the destruction of his good name that is considering legally changing it and the name of DNA to

 escape further opprobrium from the unwarranted association with any illicit or unsavory activities.

    48.   PLAINTIFFS reserve the right to pursuant to Florida Statute Section 768.72 to claim punitive

 damages in this matter on account of DEFENDANTS' gross and uncivilized misconduct in taking action

 known to be wrongful and injurious to PLAINTIFFS or in reckless disregard of the high probability of

 injury to PLAINTIFFS.

    WHEREFORE, PLAINTIFFS, as their interests appear, demand judgment against DEFENDANTS,

 jointly and severally, for compensatory damages, punitive damages, costs, attorney's fees, and any other

 relief deemed just and proper by the Court.

                                      COUNT III
                         TEMPORARY AND PERMANENT INJUNCTION


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    49.   PLAINTIFFS repeat and re-allege paragraphs 1 through 31 of this Complaint as though fully set

 out as the same numbered paragraphs of Count III, and further states as follows:

    50.   This is an action for temporary and pem1anent injunctive relief.

    51.   The offending article was published and re-republished online by DEFENDANTS and will

 continue to be disseminated online and live in perpetuity unless affirmative action is by DEFENDANTS

 to remove and/or to retract it from all sites in which it appears.

    52.   PLAINTIFFS demanded the removal and/or retraction of the subject article by letter December

 26, 2017, but DEFENDANTS have thus far failed and refused to comply with PLAINTIFFS' request.

    53.   PLAINTIFFS have no adequate remedy at law and will suffer irreparable harm and injury on

 account of the present or future publication of the subject article unless this Court issues an immediate

 temporary and permanent injunction enjoining DEFENDANTS from any continued publication,

 republication, or other dissemination of their false and defamatory article, requiring DEFENDANTS to

 post an appropriate retraction of the offending statement, and to remove to the subject article from the

 internet and any other media where it is found.

    54.   The harm to the DEFENDANTS in granting the requested injunctions is slight compared to the

 adverse consequences to PLAINTIFFS if the injunctions are not granted.

    55.   It serves the greater good to enjoin DEFENDANTS temporarily and permanently from any further

 defamation of PLAINTIFFS.

    WHEREFORE PLAINTIFFS, as their interests appear, pray for the foregoing injunctive r elief against

 DEFENDANTS and their officers, agents, servants, employee, and attorneys, attorneys fees, costs, and any

 other relief deemed just and proper by the Court.




                                      DEMAND FOR JURY TRIAL

    56.   PLAINTIFFS hereby demand a jury trial on all issues so triable as a matter of right.



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                                    VERIFICATION
     lt NEIMAN NIX, declare that I have read the foregoing Verified
     Complaint, and hereby certify that the facts stated therein are true and
     correct to the best of my knowledge and belief.


     NE            ~
     STATE OF TEXAS) ,                                             .·
     COUNTY OF ti!:!!t :>            ) ss
     ACKNOWLEDGED, SWORN TO, and SUBSCRIBED to this day by
     NEIMAN NIX to me known to be the person described in and who
     executed the foregoing Verified Complaint and who produced his
     Florida Driver's License as identification.
     WITNESS my hand and official seal this 0       day of March, 2018.
    NIX and DNA SPORTS PERFORMANCE LAB, INC. vs F.:.'iPN, AP, and USA TODAY
    CASE NUMBER:_ _ _ _ _~

    My Commission Expires:                              -~~     TRISTAN SOUUSY·~ONROV .
                                                               Nelary Pl,.!bl~, SICitl~ O! Tt'9t<:IS
                                                                  MY Ccmrrussion Expit~s.

    NOTARY PUBLIC Sign.~~~~:.:;~:__J~~----~Ap~ru.;;u=,2~01~9 iiiiiiiiiiilli!Ji
    Print:££:.s'u··~tt,'8jlllt~~~r::- State of Texas at Large
   LAW OFFICE OF ALEX S. I-IORNIK, P.A.
  Attorney for Plaintiffs 1900 S. Treasure Drive, Suite #9,..H North
  Bay ViHage, Florida 33141 Telephone: (786) 275...6850 Facsimile:
  (786) 453-2360 Primary email: ahomik@homiklaw.com Secondary
  email : a.lexhomik l@gmaiLcom By: Isl Alex S. Hornik, Esq. FBN
   743895




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                                           LAW OFFICE OF ALEX S. HORNIK, P.A.
                                           Attorney for Plaintiffs
                                           1900 S. Treasure Drive, Suite #9-H
                                           North Bay Village, Florida 33141
                                           Telephone: (786) 275-6850
                                           Facsimile: (786) 453-2360
                                           Primary email : ahornik@horniklaw.com
                                           Secondary email: alexhornikl @gmail.com
                                           By: /s/ Alex S. Hornik, Esq.
                                           FBN 743895




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                                                                     ELEVENTHJUlJlClALClRCUlT lN AND
                                                                     FOR MIAMI-DADE COUNTY, FLORIDA

                                                                     GENERAL JURISDICTION                DMSION

                                                                     CASE NUMBER: 18-007998 CA (0 I)
      NEIMAN. NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiffs,
      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.


      THE SHERIFF OF FLORIDA:
      To each Sheriff of the State:

      YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this action on
      Defendant:
                           THE ASSOCIATED PRESS, INC.
                             By serving its Registered Agent:
                              Corporation Service Company
                                      80 State Street
                                 Albany, NY 12207-2543

      Each Defendant is required to serve written defenses to the Complaint on Plaintiffs attorney, ALEX S.
      HORNIK, ESQ., LAW OFFICE OF ALEX S. HORNIK, P.A., whose address is 1900 S. Treasure Drive,
      Suite #9-H, North Bay Village, Florida, 3314l(Telephone: 786-275-6850, Fax: (786) 453-2360) within
      twenty (20) calendar days of the service of this Summons on that Defendant, exclusive of the day of
      service, and to file the original of the defenses with the Clerk of the Court either before service on
      Plaintiffs' attorney or immediately thereafter. If a Defendant fails to do so, a default will be entered against
      that Defendant for the relief demanded in the Complaint.

                  3/30/2018



                                                              HARVEY RUVIN
                                                              Clerk of Court
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                                                                     FOR MIAMI-DADE COUNTY, FLORIDA

                                                                     GENERAL JURISDICTION                DMSION

                                                                     CASE NUMBER: 18-007998 CA (0 I)
      NEIMAN. NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiffs,
      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.


      THE SHERIFF OF FLORIDA:
      To each Sheriff of the State:

      YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this action on
      Defendant:
                                       ESPN, INC.
                             By serving its Registered Agent:
                                  ESPN Enterprises, Inc.
                              ESPN Plaza, Attn: Legal Dept.
                                 Bristol, CT, 06010-7454

      Each Defendant is required to serve written defenses to the Complaint on Plaintiffs attorney, ALEX S.
      HORNIK, ESQ., LAW OFFICE OF ALEX S. HORNIK, P.A., whose address is 1900 S. Treasure Drive,
      Suite #9-H, North Bay Village, Florida, 33 14l(Telephone: 786-275-6850, Fax: (786) 453-2360) within
      twenty (20) calendar days of the service of this Summons on that Defendant, exclusive of the day of
      service, and to file the original of the defenses with the Clerk of the Court either before service on
      Plaintiffs' attorney or immediately thereafter. If a Defendant fails to do so, a default will be entered against
      that Defendant for the relief demanded in the Complaint.


      Dated on 3/30/2018

                                                              HARVEY RUVIN
                                                              Clerk of Court
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                                                              By~~~~~~~~~~­
                                                                 As Deputy Clerk
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                                                                     FOR MIAMI-DADE COUNTY, FLORIDA

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      NEIMAN. NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiffs,
      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.


      THE SHERIFF OF FLORIDA:
      To each Sheriff of the State:

      YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this action on
      Defendant:
                    USA TODAY INTERNATIONAL CORPORATION
                              By serving its Registered Agent:
                             The Corporation Trust Company
                                 Corporation Trust Center
                                    1209 Orange Street
                                  Wilmington, DE 19801

      Each Defendant is required to serve written defenses to the Compla int on Plaintiffs attorney, ALEX S.
      HORNIK, ESQ., LAW OFFICE OF ALEX S. HORNIK, P.A., whose address is 1900 S. Treasure Drive,
      Suite #9-H, North Bay Village, Florida, 3314l(Telephone: 786-275-6850, Fax: (786) 453-2360) within
      twenty (20) calendar days of the service of this Summons on that Defendant, exclusive of the day of
      service, and to fi le the original of the defenses with the Clerk of the Court either before service on
      Plaintiffs' attorney or immediately thereafter. Ifa Defendant fails to do so, a default will be entered against
      that Defendant for the relief demanded in the Complaint.

                   3/30/2018



                                                              HARVEY RUVIN
                                                              Clerk of Court

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                                                                       FOR MIAMI-DADE COUNTY, FLORIDA

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                                                                       CASE NUMBER: 18-007998 CA (0 I)
      NEIMAN. NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.


                                PLAINTIFFS' FIRST REQUEST TO PRODUCE
                                            (To All Defendants)

                COME NOW the PLAINTIFFS, by and through their undersigned attorney, and pursuant to Rule

      1.350 of the Florida Rules of Civil Procedure, requests that each DEFENDANT produce the following

      documents and other papers at the Law Office of Alex S. Hornik, P.A., 1900 S. Treasure Drive, Suite #9-

      H, North Bay Village, Florida 33141, within the time prescribed under the Florida Rules of Civil

      Procedure, and permit PLAINTIFFS to inspect and copy these documents.

             "Documents" shall mean any correspondence, writing, computer-stored, computer-generated,
      electronic, or graphic material or any copy of any writing, electronic or graphic material in your possession,
      custody, care, or control pertaining to any subject, involved in this proceeding. This includes but is not
      limited to, the original of any correspondence, paper, book, pamphlet, periodical, photograph, object,
      microfilm, microfiche, note, sound recording, sales pamphlets, materials, or sales information, or any other
      data compilation from which information can be obtained within the time prescribed under the Florida
      Rules of Civil Procedure:


                                           DOCUMENTS REQUESTED

      1.      Any and all documents, correspondence, memoranda, emails, text-messages, or other written
              communications between any of the parties to this case, mentioning, referring to, or pertaining to
              any of the issues, allegations, or subject matter of this case.


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                                                                         CASE NUMBER: 18-007998 CA (01)

 2.    Any and aU documents, correspondence, memoranda, emails, text-messages or other written
       communications between any of the parties to this case and any person or entity not a party to this
       case mentioning, referring to, or pertaining to any of the issues, allegations, or subject matter of this
       case.

 3.    Any and aU internal documents, correspondence, memoranda, emails, text-messages or other written
       communications of each DEFENDANT herein mentioning, referring to, or pertaining to any of the
       issues, allegations, or subject matter of this case.

 4.    Any and all documents, records, correspondence or other writings supporting, refuting, mentioning,
       or pertaining to the following statements:

         A.     Bioidentical insulin like growth factor (IGF-1) is on MLB 's list of banned substances.

         B.     Bioidentical insulin like growth factor (IGF-1) is derived from elk antlers and is on MLB' s
                list of banned substances.

         C.     Plaintiff Nix admitted that in his 2016 lawsuit against MLB that his company used
                Bioidentical insulin like growth factor (IGF-1) which is derived from elk antlers and is on
                MLB's list of banned substances.

 5.    Any and all documents, records, correspondence or other writings supporting, refuting, mentioning,
       or pertaining to Major League Baseball's position on the use of deer or elk anti.er supplements by
       its players.

 6.    Any and all documents, records, correspondence or other writings which each DEFENDANT relied
       on as the basis for the statement, ""The suit admits N ix and his company used bioidentical insulin
       like growth factor (IGF-1), which is derived from elk antlers and is on baseball's list of banned
       substances."

 7.    Any and all documents, records, correspondence or other writings evidencing, mentioning, or
       pertaining to each DEFENDANT's responses to PLAINTIFFS ' First Set oflnterrogatories and First
       Requests for Admissions filed concurrently herewith.

 8.    Copies of any and all insurance policies in their entirety which insure any DEFENDANT for any
       legal liability to third parties for the year 201 6.

 9.    Any and all documents, correspondence, writings, or exhibits which DEFENDANT intends to
       introduce at the trial in this matter, whether for substantive, rebuttal, or impeachment purposes.


                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

 LoCicero, Esq, Thomas & LoCicero PL, attorneys for Defendant THE ASSOCIATED PRESS at

 clocicero@tlolawfirm.com this 23rd day of April, 201 8.



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                                  LAW OFFICE OF ALEX S. HORNIK, P.A.
                                      Attorney for Plaintiff
                                       1900 S. Treasure Drive, Suite #9-H
                                      North Bay Village, Florida 33141
                                      Telephone:             (786) 275-6850
                                      Facsimile:             (786) 453-2360
                                      Primary email: ahomik:@homiklaw.com
                                      Secondary email: alexhomikl@gmail.com

                                        By: /s/ Alex S. Hornik, Esq.
                                                FBN 743895




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                                                                      FOR MIAMI-DADE COUNTY, FLORIDA

                                                                      GENERAL JURISDICTION           DMSION

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      NEIMAN. NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.


                              PLAINTIFFS' FIRST REQUEST FOR ADMISSIONS
                                            (To All Defendants)

                COME NOW the PLAINTIFFS, by and through their undersigned attorney, and pursuant to Rule

      1.370 of the Florida Rules of Civil Procedure, requests that each DEFENDANT admit or deny the

      fo llowing statements within the time prescribed under the Florida Rules of Civil Procedure:

      1.       Defendant did not review Plaintiffs' complaint in the lawsuit to which the following statement
               refers before publishing the article containing it: "The suit admits Nix and his company used
               bioidentical insulin like growth factor (IGF-1), which is derived from elk antlers and is on
               baseball's list of banned substances."

      2.        Bioidentical insulin like growth factor (IGF-1) is not on MLB 's list of banned substances.

      3.       Extracts from deer and elk antlers are not on MLB's list of banned substances.

      4.       PlaintniffNix never admitted in his 2016 lawsuit against MLB that his company used or sold any
               substance banned by MLB.

      5.       Neither Plaintiff ever admitted having sold any substance banned by MLB



                                           CERTIFICATE OF SERVICE



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       I HEREBY CERTIFY that a true and correct copy of the foregoing was forwarded to the process
server for service on Defendants this_ day of March, 2018.


                                   LAW OFFICE OF ALEX S. HORNIK, P.A.
                                       Attorney for Plaintiff
                                        1900 S. Treasure Drive, Suite #9-H
                                       North Bay Village, Florida 33141
                                       Telephone:             (786) 275-6850
                                       Facsimile:             (786) 453-2360
                                       Primary email: ahornik@homiklaw.com
                                       Secondary email : alexhomikl@gmail.com

                                          By: Isl Alex S. Hornik, Esq.
                                                  FBN 743895




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                                                                  FOR MIAMI-DADE COUNTY, FLORIDA

                                                                  GENERAL JURISDICTION              DMSION

                                                                  CASE NUMBER: 18-007998 CA (0 I)
      NEIMAN. NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.
      ~~~~~~~~~~~~~~~~~~
                                            I
        PLAINTIFFS' NOTICE OF SERVICE OF FIRST SET OF INTERROGATORIES TO ALL
                                    DEFENDANTS

              Plaintiff, NEIMAN NIX, by and through his undersigned attorney, hereby gives notice of the

      service ofhis First Set oflnterrogatories on all Defendants pursuant to Rule 1.340 of the Florida Rules of

      Civil Procedure

                                          CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

      LoCicero, Esq, Thomas & LoCicero PL, attorneys for Defendant THE AS SOCIATED PRESS at

      clocicero@tlolawfirm.com this 23'd day of April, 2018.

                                                   LAW OFFICE OF ALEX S. HORNIK, P.A.
                                                   Attorney for Plaintiffs
                                                   1900 S. Treasure Drive, Suite #9-H
                                                   North Bay Village, Florida 33141
                                                   Telephone:              (786) 275-6850
                                                   Facsimile:              (786) 453-2360
                                                   Primary email: ahornik@horniklaw.com
                                                   Secondary email: alexhornikl @gmail.com

                                                   By: Isl Alex S. Hornik, Esq.
                                                           FBN 743895
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                                                                         JN THE CIRCUJT COURT OF THE
                                                                         ELEVENTH JUDlClAL CIRCUIT JN AND
                                                                         FOR MIAMI-DADE COUNTY, FLORIDA

                                                                         GENERAL     JURISDlCTION        DIVISION

                                                                         CASE NUMBER: 18-007998 CA (01)
        NEIMAN NIX and
        DNA SPORTS PERI<"ORMANCE LAB, INC.,
        a Florida corporation,

               Plaintiffs,
        vs.

        ESPN, INC., a Connecticut corporation,
        THE ASSOCIATED PRESS, INC. a New Y01;k
        nonprofit cooperative, and USA TODAY
        JNTERNATIONAI, CORPORATION,
        a Delaware corporation.

              Defendants.


               NOTICE OF COMMENCEl\tlENT OF ACTION AND REQUEST FOR WAIVER OF
                                     SERVICE OF PROCESS

        VJA CERTIFIED MAJL
        RETURN RECEIPT REQUESTED

                 Plaintiffs, NEIMAN NIX and DNA SPORTS PERFORMANCE LAB, INC., by and through their

        undersigned attorney, hereby give notice to:

                                                THE ASSOCIATED PRESS
              (incorrectly referred to above as "THE ASSOCIATED PRESS, INC., a New York cooperative")
                                       Registered Agent: Corporation Service Company
                                                       80 State Street
                                                  Albany, NY 12207-2543

        of this commencement of this action in the Circuit Court ofthe Eleventh Judicial Circuit of Florida in and

        for Miami-Dade County.

                 Plaintiffs hereby request pursuant to Rule l .070(i), Florida Rules ofCivil Procedure that Defendant

        THE ASSOCIATED PRESS waive formal service ofthe enclosed Plaintiffs, "Complaint and Demand for

        Jury Trial" and «Summons" in this matter by executing the "Waiver of Service of Process" form below

        confirming acceptance of said complaint and summons and returning it to Plaintiffs undersigned attorney


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                             NIX and DNA SPORTS PERFOR.i.YiANCE LAB, lNC. v:; ESPN, Al» and USA TODAY
                                                                     CASE NUMBER: 18-007998 CA (Ol)

  ofrecord in the pre-addressed, starnped envelope provided herein.

         Acceptance of service of the complaint and summons as herein requested does not thereby waive

  any objection to the venue or to the jurisdiction ofthe court over the person of the defendant.

          Defendant THE ASSOCIATED PRESS shall have twenty (20) days from the receipt of this notice

  and request for waiver in which to return the signed "Waiver of Service of Processi. fom1 to Plaintiff's

  undersigned attorney of record, failing which, the Court shall impose the costs subsequently incurred by

  Plaintiffs irt effecting service on the Defendant THE ASSOCIATED PRESS unless good cause for the

  failure is shown.

         Ifsaid "Waiver ofService ofProcess" form is timely returned, then Defendant THE ASSOCIATED

  PRESS shall have 60 days from the receipt ofthis notice and request for waiver to respond to the enclosed

  complaint. If Defendant THE ASSOCIATED PRESS should be fonnally served with the complaint and

  summons, then in that case, Defendant THE AS SOCIATED PRESS shall have 20 days to respond to the

  complaint. For purposes ofcomputing any time prescribed or allowed by these rules, service of process

  shall be deemed effected 20 days before the time required to respond to the complaint.


                                       CERTIFICATE OF MAlLL'iG

         I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

  LoCicero, Esq, Thomas & LoCicero PL, attorneys for Defendant THE ASSOCIATED PRESS at

  clocicero@tlola"vt'.ftrm.com this 2}81 day of April, 2018.

                                                 LAW OFFICE OF ALEX S. HORJ."llK, P.A.
                                                 Attorney for Plaintiffs
                                                 l 900 S. Treasure Drive, Suite #9-H
                                                 North Bay Village, Florida 33141
                                                 Telephone:              (?86) 275-6850
                                                 Facsimile:              (786) 453-2360
                                                 Primary email : ahomik@homiklaw.com
                                                 Secondruy email : ~1~~.!19.mU~J@lgm}!Ls:ortl

                                                 By: Isl Alex S. Hornik, Esq.
                                                         FBN743895

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                                                                  IN THE CIRCUIT COURT OF THE
                                                                  ELEVENTH JUDICIAL CIRCUIT IN AND
                                                                  FOR MIAMI-DADE COUNTY, FLORIDA

                                                                   GENERAL JURISDICTION DIVISION

                                                                   CASE NUMBER: 18-007998 CA (01)
  NEIMAN NIX and
  DNA SPORTS PEru'OR.'1ANCE LAB, INC.,
  a Florida corporation,

        Plaintiffs,
  vs.

  ESPN, INC., a Connecticut corporation,
  THE ASSOCIATED PRESS, INC. a New York
  nonprofit cooperative, and USA TODAY
  INTER.i:~ATIONAL CORPORATION,
  a Delaware corporation.

        Defendants.
                                                 · - -I

                                 WAIVER OF SERVICE OF PROCESS

          Defendant, THE ASSOCIATED PRESS, a New York nonprofitcorporation, (incorrectly referred

  to above as " THE ASSOCIATED PRESS, INC., a New York nonprofit cooperative") by and through its

  undersigned authorized representative, hereby acknowledges the receipt of service of Plaintiffs'

  "Complaint and Demand for Jury Trial" and " Summons" in the above-entitled matter and waives formal

  service of process, pursuant to Rule 1.070(i), Florida Rules of Civil Procedure.



                                                       THE ASSOCIATED PRESS                                            .
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                                                       Title:       f~rsJ. Lo< MM-,,LC~v-nf( \
                                                       Dated:                cf(            1--1   J-J?_
Case 1:18-cv-22208-UU Document 1-2 Entered on FLSD Docket 06/04/2018 Page 31 of 62
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                                                                         IN THE CIRCUIT COURT OF THE
                                                                         ELEVENTH JUDICIAL CIRCUIT IN AND
                                                                         FOR MIAMI-DADE COUNTY, FLORIDA

                                                                         GENERAL     JURISDICTION        DIVISION

                                                                         CASE NUMBER: 18-007998 CA (01)
        NEIMAN NIX and
        DNA SPORTS PERFORMANCE LAB, INC.,
        a Florida corporation,

              Plaintiffs,
        vs.

        ESPN, INC., a Connecticut corporation,
        THE ASSOCIATED PRESS, INC. a New York
        nonprofit cooperative, and USA TODAY
        INTERNATIONAL CORPORATION,
        a Delaware corporation.

              Defendants.


               NOTICE OF COMMENCEMENT OF ACTION AND REQUEST FOR WAIYER OF
                                  SERVICE OF PROCESS

        VIA CERTIFIED MAIL
        RETURN RECEIPT REQUESTED

                Plaintiffs, NEIMAN NIX and DNA SPORTS PERFORMANCE LAB, INC., by and through their

        undersigned attorney, hereby give notice to:

                                               DEFENDANT ESPN, INC.
                                        Registered Agent: ESPN Enterprises, Inc.
                                             ESPN Plaza, Attn: Legal Dept.
                                                 Bristol, CT 06010-7454

        of this commencement of this action in the Circuit Court of the Eleventh Judicial Circuit of Florida in and

        for Miami-Dade County.

                Plaintiffs hereby request pursuant to Rule l .070(i), Florida Rules of Civil Procedure that Defendant

        ESPN, INC. waive formal service of the enclosed Plaintiffs' "Complaint and Demand for Jury Trial" and

        "Summons" in this matter by executing the "Waiver of Service of Process" form below confirming

        acceptance of said complaint and summons and returning it to Plaintiffs undersigned attorney of record



                                                       - Page 1 of 2 -
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                             NIX and DNA SPORTS PERFORMANCE LAB, INC. vs ESPN. AP. and USA TODAY
                                                                 CASE NUMBER: 18-007998 CA (01)

  in the pre-addressed, stamped envelope provided herein.

         Acceptance of service of the complaint and summons as herein requested does not thereby waive

  any objection to the venue or to the jurisdiction of the court over the person of the defendant.

          Defendant ESPN, INC. shall have twenty (20) days from the receipt of this notice and request for

  waiver in which to return the signed "Waiver of Service of Process" form to Plaintiffs undersigned

  attorney of record, failing which, the Court shall impose the costs subsequently incurred by Plaintiffs in

  effecting service on the Defendant ESPN, INC unless good cause for the failure is shown.

         If said "Waiver of Service of Process" form is timely returned, then Defendant ESPN, INC. shall

  have 60 days from the receipt of this notice and request for waiver to respond to the enclosed complaint.

  If Defendant ESPN, INC. should be formally served with the complaint and summons, then in that case,

  Defendant ESPN, INC. shall have 20 days to respond to the complaint. For purposes of computing any

  time prescribed or allowed by these rules, service of process shall be deemed effected 20 days before the

  time required to respond to the complaint.


                                      CERTIFICATE OF MAILING

         I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

  LoCicero, Esq, Thomas & LoCicero PL, attorneys for Defendant ESPN, Inc. at c/ocicero@tlolawfirm.com

  this 12th day of April, 2018.


                                                LAW OFFICE OF ALEX S. HORNIK, P.A.
                                                Attorney for Plaintiffs
                                                1900 S. Treasure Drive, Suite #9-H
                                                North Bay Village, Florida 33141
                                                Telephone:              (786) 275-6850
                                                Facsimile:              (786) 453-2360
                                                Primary email : ahomik@homiklaw.com
                                                Secondary email: alexhornikl@gmail.com

                                                By: Isl Alex S. Hornik, Esq.
                                                        FBN 743895


                                               - Page 2 of 2 -
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                                                                            IN TllE CIRCUIT COURT OF THE
                                                                            ELEVENTH JUDICI/\L cmcurr rN AND
                                                                            FOR MlAMJ,..DADE COUNTY, FLORrDA

                                                                            GENERAL JURISDICTION         DIVISJON

                                                                            CASE NUMBER: 18°007998 CA (0 1)
   NlUMAN NlX and
   UNA SPORTS PERFORMANCE LAB~ I.NC.,
   u Flnridu corporation,

         Pfoint:it1s,


  ESPN, INC., a Connecticut corponHion.,
  THE ASSOCIATED PRESS~ lNC. a New York
   npnprofit cooperative, and USA TODAY
   IN1'l!:RNATJONA.L CORP.ORATION,.
   a Dchrwm:c corporation,.


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                                          WAIVER OF SERVICE OF PROCESS

            Defcndrmt, D£F:EN1>ANT ESPN, INC.. a ConnccUcm corporation,.by and through its undersigned



   Ocn1tmd for Jory Trial'' :and ''Stnnmons'' in the abov<H::ntitkcl matter and \Vl!ivcs fom1a! service ofproce.i:ls.

  t)urnunnt to Rtde i .070(i), Florida Rules of Civ.i l Procedure.
Case 1:18-cv-22208-UU Document 1-2 Entered on FLSD Docket 06/04/2018 Page 35 of 62
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                                                                         IN THE CIRCUIT COURT OF THE
                                                                         ELEVENTH JUDICIAL CIRCUIT IN AND
                                                                         FOR MIAMI-DADE COUNTY, FLORIDA

                                                                         GENERAL    JURISDICTION        DIVISION

                                                                         CASE NUMBER: 18-007998 CA (01)
        NEIMAN NIX and
        DNA SPORTS PERFORMANCE LAB, INC.,
        a Florida corporation,

              Plaintiffs,
        vs.

        ESPN, INC., a Connecticut corporation,
        THE ASSOCIATED PRESS, INC. a New York
        nonprofit cooperative, and USA TODAY
        INTERNATIONAL CORPORATION,
        a Delaware corporation.

              Defendants.


               NOTICE OF COMMENCEMENT OF ACTION AND REQUEST FOR WAIVER OF
                                  SERVICE OF PROCESS

        VIA CERTIFIED MAIL
        RETURN RECEIPT REQUESTED

                Plaintiffs, NEIMAN NIX and DNA SPORTS PERFORMANCE LAB, INC., by and through their

        undersigned attorney, hereby give notice to:

                                                       USA TODAY
                     a division of GANNETT SATELLITE INFORMATION NETWORK, LLC
                                     (incorrectly referred to above as "USA TODAY
                                         INTERNATIONAL CORPORATION")
                                             The Corporation Trust Company
                                                 Corporation Trust Center
                                                    1209 Orange Street
                                                  Wilmington, DE 19801

        of this commencement of this action in the Circuit Court of the Eleventh Judicial Circuit of Florida in and

        for Miami-Dade County.

                Plaintiffs hereby request pursuant to Rule l .070(i), Florida Rules ofCivil Procedure that Defendant

        USA TODAY waive formal service ofthe enclosed Plaintiffs' "Complaint and Demand for Jury Trial" and



                                                       - Page 1 of 2 -
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                            NIX and DNA SPORTS PERFORMANCE LAB, INC. vs ESPN, AP, and USA TODAY
                                                                CASE NUMBER: 18-007998 CA {OJ)

   "Summons" in this matter by executing the "Waiver of Service of Process" form below confirming

   acceptance of said complaint and summons and returning it to Plaintiff's undersigned attorney of record

   in the pre-addressed, stamped envelope provided herein.

          Acceptance of service of the complaint and summons as herein requested does not thereby waive

  any objection to the venue or to the jurisdiction of the court over the person of the defendant.

           Defendant USA TODAY shall have twenty (20) days from the receipt of this notice and request

  for waiver in which to return the signed "Waiver of Service of Process" form to Plaintiff's undersigned

  attorney of record, failing which, the Court shall impose the costs subsequently incurred by Plaintiffs in

  effecting service on the Defendant USA TODAY unless good cause for the failure is shown.

          If said "Waiver of Service of Process" form is timely returned, then Defendant USA TODAY shall

  have 60 days from the receipt of this notice and request for waiver to respond to the enclosed complaint.

  If Defendant USA TODAY should be formally served with the complaint and summons, then in that case,

  Defendant USA TODAY shall have 20 days to respond to the complaint. For purposes of computing any

  time prescribed or allowed by these rules, service of process shall be deemed effected 20 days before the

  time required to respond to the complaint.

                                      CERTIFICATE OF MAILING

          I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

  LoCicero,    Esq,   Thomas     &   LoCicero     PL,   attorneys   for   Defendant    USA     TODAY      at

  clocicero@tlolawjirm.com this 21st day of April, 2018.

                                                LAW OFFICE OF ALEX S. HORNIK, P.A.
                                                Attorney for Plaintiffs
                                                1900 S. Treasure Drive, Suite #9-H
                                                North Bay Village, Florida 33141
                                                Telephone:              (786) 275-6850
                                                Facsimile:              (786) 453-2360
                                                Primary email : ahornik@horniklaw.com
                                                Secondary email : alexhornik l@gmail.com

                                                By: Isl Alex S. Hornik, Esq.
                                                        FBN 743895

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                                                                    lN THE CJRCUff COU.RT ()F THE
                                                                    ELEVHNTTi JUDJCJA.L ClRCU!T lN AND
                                                                    FOR M1AMJ,.DADE COUNTY, FLORIDA

                                                                    GENERAL JURlSDlCTION                 DfVISJON

                                                                    CASE NUMBER: 18--007998CA (01)
   NEIMAN NlX and
   DNA S.PORTS PERFORMANCE L«\B, tNC.,
   a Flnrtdu corporation;

        Plaintiffs.


  ESPN1 fNC,, a Connecticut corporation,
  THE ASSOCIATE() PRESS, INC. a New 'Ynrk
  nonprofit. coopcrntivc, and USA TODA.Y
  INTERNATlONAl, CORPORATION~
  a Delawarecorporntion.

       Dcfo ndants.


                                    \VAlVER OF SERVICE OFPR()CESS

           Defendant USA TODAY, a division of GANNETT SATll:LlSfE INFORMATION

   NETWORK~ LLC~            a Defaware corpnrution (incorrectly rcforred to           ~hove   as '"USA TODAY

   1NTERNATIONALC0RPORATl()N'')~ by and through its undersigned at1thorized repre~:entativf\ hetehy


   acknowicdges thcrccdpt nf scrvite ofPlaintim•' ''Ct:implainl and Demand for Jury Tri.at'• and ''Summons"

   in tht~ abovc..cntitled matter and 'Waivcsfornrnl sc.rviz:e ofproces);, pursuant to Rufo l ,070(i), Fh'irida Rules

   of Civil Procedure,

                                                    USA 'J'ODAY~. a division of GANNETT SATKLLJTK
                                                    fNFORMATION NE'f\VORJ{; LLC
Case 1:18-cv-22208-UU Document 1-2 Entered on FLSD Docket 06/04/2018 Page 41 of 62
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                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT!
                          IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        NEIMAN NIX and DNA SPORTS
        PERFORMANCE LAB, INC.,

               Plaintiffs,

        v.                                                          Case No. 18-007998 CA (01)

        ESPN, INC., et al.,

               Defendants.


                                         NOTICE OF APPEARANCE

               NOTICE IS HEREBY GIVEN that Carol Jean LoCicero and Allison Kirkwood Simpson

        of the law firm of Thomas & Locicero PL, hereby enter their appearance as counsel for

        Defendants THE ASSOCIATED PRESS, INC. (" AP"); ESPN, INC. ("ESPN"); and USA

        TODAY a division of GANNETT SATELLITE INFORMATION NETWORK, LLC ("USA

        Today") 1 in the this matter. Copies of all future pleadings, papers, and correspondence should be

        sent to the undersigned attorneys at the address and email addresses listed below.

                       Carol Jean LoCicero
                       Allison Kirkwood Simpson
                       Thomas & Locicero PL
                       601 South Boulevard
                       Tampa, FL 33606

                       Primary E-Mail Addresses:         clocicero@tlolawfirm.com
                                                         asimpson@tlolawfirm.com

                       Secondary E-Mail Addresses:       tgilley@tlolawfirm.com
                                                         dlake@tlolawfirm.com
        Dated: May 24, 2018.

                                                     Respectfully submitted,

        1
         Defendant USA Today is incorrectly referred to in the Complaint as USA TODAY INTERNATIONAL
        CORPORATION. As noted herein, the correct entity is USA TODAY, a division of GANNETT
        SATELLITE INFORMATION NETWORK, LLC.
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                                                THOMAS & LoCICERO PL

                                                ls/Carol Jean LoCicero
                                                Carol Jean LoCicero
                                                  Florida Bar No. 603030
                                                   clocicero@tlolawfirm.com
                                                Allison Kirkwood Simpson
                                                  Florida Bar No. 86036
                                                   asimpson@tlolawfirm.com
                                                601 South Boulevard
                                                Tampa, FL 33606
                                                Telephone: (813) 984-3060
                                                Facsimile: (813) 984-3070

                                                Attorneys for The Associated Press, Inc., ESPN,
                                                Inc. , and U SA Today a division of Gannett Satellite
                                                Information Network, LLC




                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was furnished on the 24th

   day of May, 2018, via electronic service from Florida Court E-Filing portal to Alex S. Hornik,

   Esq., LAW OFFICE OF ALEX S. HORNIK, P.A., 1900 S. Treasure Drive, Suite #9-H, North

   Bay Village, Florida 33141 (ahornik@horniklaw.com; alexhornikl @gmail.com).


                                                       Isl Carol Jean LoCicero
                                                       Attorney




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                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUITI
                          IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        NEIMAN NIX and DNA SPORTS
        PERFORMANCE LAB, INC.,

               Plaintiffs,

        v.                                                          Case No. 18-007998 CA (01)

        ESPN, INC., et al.,

              Defendants.
        ____________________________________/

                              DEFENDANTS’ MOTION TO STAY DISCOVERY

               Pursuant to Florida Rule of Civil Procedure 1.280(c), Defendants THE ASSOCIATED

        PRESS, INC. (“AP”); ESPN, INC. (“ESPN”); and USA TODAY a division of GANNETT

        SATELLITE INFORMATION NETWORK, LLC (“USA Today”) 1 (collectively “Defendants”)

        move the Court for a stay of discovery in this case until the Court rules on the Defendants’

        forthcoming Motion to Dismiss the Complaint. In support of this motion, Defendants state:

                                                   Background

               1.      Plaintiff Neiman Nix and his company, DNA Sports Performance Lab, Inc.

        (“DNA”), have sued Defendants for Defamation (Count 1), Intentional Infliction of Emotional

        Distress (Count 2), and for Temporary and Permanent Injunction (Count 3) based on news

        stories published by AP, ESPN and USA Today on July 14, 2016.

               2.      The news stories describe a 2016 lawsuit Nix filed against Major League Baseball

        (“MLB”) for tort claims essentially arising over whether a certain substance (bioidentical insulin

        like growth factor, also called IGF-1) is banned by MLB. The Defendants reported on Nix’s

        1
         Defendant USA Today is incorrectly referred to in the Complaint as USA TODAY INTERNATIONAL
        CORPORATION. As noted herein, the correct entity is USA TODAY, a division of GANNETT
        SATELLITE INFORMATION NETWORK, LLC.
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   MLB complaint. Nix takes issue with the following statement that appeared in the news stories:

   “The suit admits Nix and his company used bioidentical insulin like growth factor (IGF-1),

   which is derived from elk antlers and is on baseball’s list of banned substances.” The articles,

   based on an AP wire service story, are located at

   http://www.espn.com/mlb/story/_/id/17078668/major-league-baseball-sued-dna-sports-

   performance-lab-owner-alleged-illegal-hacking-biogenesis-investigation, and

   https://www.usatoday.com/story/sports/mlb/2016/07/14/training-clinic-owner-sues-mlb-alleging-

   illegal-hacking/87096478/.

            3.    On April 24, 2018, Plaintiffs served Defendants with discovery, including

   requests for production of documents, requests for admission, and interrogatories. The discovery

   is attached to this motion as Exhibits 1, 2, and 3, respectively.

            4.    The requests are largely focused on whether MLB bans IGF-1. See Exhibits 1, 2,

   and 3.

            5.    Defendants are due to respond to the Complaint on June 22, 2018. The arguments

   that Defendants intend to raise in the Motion to Dismiss will be legal and dispositive of the case.

                                            Stay of Discovery

            6.    For purposes of the upcoming motion to dismiss, Defendants and the Court must

   accept as true the facts alleged in the Complaint. As such, discovery from Defendants would not

   assist Plaintiffs in opposing the motion to dismiss.

            7.    “A trial court has broad discretion in discovery matters.” Zirkelbach Const., Inc.

   v. Rajan, 93 So. 3d 1124, 1127 (Fla. 2d DCA 2012).

            8.    Ordinary notions of judicial economy and efficiency counsel in favor of a stay of

   discovery pending adjudication of a dispositive motion to dismiss. Deltona Corp. v. Bailey, 336



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   So.2d 1163, 1169-70 (Fla. 1976) (“postponing discovery for a short period of time pending

   determination of material, outstanding motions may be within the discretion of the trial court”);

   Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1368 (11th Cir. 1997) (“If the district court

   dismisses a nonmeritorious claim before discovery has begun, unnecessary costs to the litigants

   and to the court system can be avoided”).

          9.      First Amendment interests, which courts have a duty to consider when

   supervising discovery in libel cases, also support a stay. Herbert v. Lando, 441 U.S. 153, 179-80

   (1979) (Powell, J., concurring). This is because litigation itself, including discovery, may

   operate to chill protected speech. Id. at 180 (Powell, J., concurring); McBride v. Merrell Dow

   and Pharm., Inc., 717 F.2d 1460, 1466-67 (D.C. Cir. 1983) (“Libel suits, if not carefully handled,

   can threaten journalistic independence. Even if many actions fail, the risks and high costs of

   litigation may lead to undesirable forms of self-censorship.”); Kotlikoff v. Community News,

   444 A.2d 1086, 1088 (N.J. 1982) (“The threat of prolonged and expensive litigation has a real

   potential for chilling journalistic criticism and comment upon public figures and public affairs.”).

          10.     Courts have routinely forbidden discovery in defamation cases until the

   determination of threshold matters. See Farah v. Esquire Magazine, Inc., 863 F. Supp. 2d 29, 35

   n.7 (D.D.C. 2012) (noting that the “Court granted Defendants’ motion to stay discovery pending

   a decision on their motion to dismiss); White v. Fraternal Order of Police, 909 F.2d 512, 517

   (D.C. Cir. 1990) (granting stay of discovery in invasion of privacy and defamation action);

   Moldea v. New York Times Co., 137 F.R.D. 1, 2 (D.D.C. 1990) (granting stay of discovery in

   libel action in light of “significant First Amendment issues” and other considerations); see also

   Matthews v. City of Maitland, 923 So. 2d 591, 595 (Fla. 5th DCA 2006) (quashing orders

   compelling disclosures of anonymous contributors to web site raising funds to challenge city



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   zoning decision); Bruno & Stillman v. Globe Newspaper Co., 633 F.2d 583, 597 (1st Cir. 1980)

   (“As a threshold matter, the court should be satisfied that a claim is not frivolous, a pretense for

   using discovery powers in a fishing expedition.”); Cervantes v. Time, Inc., 464 F.2d 986, 993

   (8th Cir. 1972) (to “routinely grant motions seeking compulsory disclosure of anonymous news

   sources without first inquiring into the substance of the libel allegation would utterly emasculate

   the fundamental principles that underlay the line of cases articulating the constitutional

   restrictions to be engrafted upon the enforcement of State libel laws.”).

          11.     A stay of discovery is also supported by Florida’s recently amended anti-SLAPP

   statute, which was designed to provide an “expeditious resolution” to certain defamation actions.

   Fla. Stat. § 768.295(4). To be sure, “[e]ffective anti-SLAPP statutes” exist to “make it easier

   and cheaper to terminate such lawsuits at early stages.” Samuel Morley, Florida’s Expanded

   Anti-SLAPP Law: More Protection for Targeted Speakers, 90 Fla. B.J. 17-18 (Nov. 2016).

          12.     For the laudatory effects of Florida’s newly-enacted anti-SLAPP legislation to

   work, courts must enforce protections – such as preventing invasive discovery. Id. at 19. Thus,

   in the context of a defamation action such as this one, a plaintiff should not compel the

   disclosure of journalistic work product prematurely.

          13.     If Defendants are right that Plaintiffs cannot state a valid claim, discovery would

   be wasteful, burdensome, intrusive, and pointless. It would also undermine Florida’s anti-

   SLAPP law. If Defendants are wrong, then Plaintiffs would later have an opportunity to take

   appropriate discovery.

          14.     Courts have found that “any stay of discovery or trial should be for a reasonable

   and finite time, and . . . the least intrusive means of accommodating the need for delay should be

   used.” State v. Antonucci, 590 So. 2d 998, 1000 (Fla. 5th DCA 1991) (discussing standard for



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   stays in civil and criminal matters). Defendants are asking only for a stay of discovery through

   this Court’s ruling on its motion to dismiss. Such a limited stay would comply with the law.

          15.     In the alternative, Defendants request an extension of time to respond to

   Plaintiffs’ discovery requests. This Court may grant such a motion pursuant to Rule 1.090 of the

   Florida Rules of Civil Procedure. Plaintiffs will not be prejudiced by an extension of time until

   this Court rules upon the Defendants’ Motion to Dismiss. By contrast, Defendants will be

   severely prejudiced if they are required to respond to discovery requests—that are in any event

   more appropriately directed to MLB in Nix’s case involving MLB—prior to the Court’s ruling

   on the Motion to Dismiss due not only to the expense and burden involved in responding to

   Plaintiff’s numerous requests, but also the imposition on their First Amendment rights.

          16.     Defendants asked Plaintiffs to consent to the requested stay, but Plaintiffs have

   expressed intent to take early discovery in this case.

   Dated: May 24, 2018.

                                                 Respectfully submitted,

                                                 THOMAS & LoCICERO PL

                                                 /s/Carol Jean LoCicero
                                                 Carol Jean LoCicero
                                                   Florida Bar No. 603030
                                                   clocicero@tlolawfirm.com
                                                 Allison Kirkwood Simpson
                                                   Florida Bar No. 86036
                                                   asimpson@tlolawfirm.com
                                                 601 South Boulevard
                                                 Tampa, FL 33606
                                                 Telephone: (813) 984-3060
                                                 Facsimile: (813) 984-3070

                                                 Attorneys for The Associated Press, Inc., ESPN,
                                                 Inc., and USA Today a division of Gannett Satellite
                                                 Information Network, LLC



                                                     5
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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was furnished on the 24th

   day of May, 2018, via electronic service from Florida Court E-Filing portal to Alex S. Hornik,

   Esq., LAW OFFICE OF ALEX S. HORNIK, P.A., 1900 S. Treasure Drive, Suite #9-H, North

   Bay Village, Florida 33141 (ahornik@horniklaw.com; alexhornik1@gmail.com).


                                                       /s/ Carol Jean LoCicero
                                                       Attorney




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                                EXHIBIT 1
      Case
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                                                                       ELEVENTH J UDlClAL CJRCU!T lN AND
                                                                       FOR MIAMI-DADE COUNTY, FLORIDA

                                                                       GENERAL JURISDICTION             DIVISION

                                                                       CASE NUMBER: 18-007998 CA (01)
      NEIMAN NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.


                                PLAINTIFFS' FIRST REQUEST TO PRODUCE
                                            (To All Defendants)

                COME NOW the PLAINTIFFS, by and through their undersigned attorney, and pursuant to Rule

      1.350 of the Florida Rules of Civil Procedure, requests that each DEFENDANT produce the following

      documents and other papers at the Law Office of Alex S. Hornik, P.A., 1900 S. Treasure Drive, Suite #9-

      H, North Bay Village, Florida 33141, within the time prescribed under the Florida Rules of Civil

      Procedme, and permit PLAINTIFFS to inspect and copy these documents.

             "Documents" shall mean any correspondence, writing, computer-stored, computer-generated,
      electronic, or graphic material or any copy of any writing, electronic or graphic material in your possession,
      custody, care, or control pertaining to any subject, involved in this proceeding. This includes but is not
      limited to, the original of any correspondence, paper, book, pamphlet, periodical, photograph, object,
      microfilm, microfiche, note, sound recording, sales pamphlets, materials, or sales infornrntion, or any other
      data compilation from which information can be obtained within the time prescribed under the Florida
      Rules of Civil Procedure:


                                           DOCUMENTS REQUESTED

      1.      Any and all documents, correspondence, memoranda, emails, text-messages, or other written
              communications between any of the parties to this case, mentioning, referring to, or pertaining to
              any of the issues, allegations, or subject matter of this case.

                                                                                                               EXHIBIT 1
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2.    Any and all documents, correspondence, memoranda, emails, text-messages or other written
      communications between any of the parties to this case and any person or entity not a party to this
      case mentioning, referring to, or pertaining to any of the issues, allegations, or subject matter of this
      case.

3.    Any and all internal documents, correspondence, memoranda, emails, text-messages or other written
      communications of each DEFENDANT herein mentioning, referring to, or pertaining to any of the
      issues, allegations, or subject matter of this case.

4.    Any and all documents, records, correspondence or other writings supporting, refuting, mentioning,
      or pertaining to the following statements:

        A.     Bioidentical insulin like growth factor (IGF-1) is on MLB's list of banned substances.

        B.     Bioidentical insulin like growth factor (IGF-1) is derived from elk antlers and is on MLB 's
               list of banned substances.

        C.     Plaintiff Nix admitted that in his 2016 lawsuit against MLB that his company used
               Bioidentical insulin like growth factor (IGF-1) which is derived from elk antlers and is on
               MLB 's list of banned substances.

5.    Any and al 1documents, records, correspondence or other writings supporting, refuting, mentioning,
      or pertaining to Major League Baseball's position on the use of deer or elk antler supplements by
      its players.

6.    Any and all documents, records, correspondence or other writings which each DEFENDANT relied
      on as the basis for the statement, ""The suit admits Nix and his company used bioidentical insulin
      like growth factor (IGF-1), which is derived from elk antlers and is on baseball's list of banned
      substances."

7.    Any and all documents, records, correspondence or other writings evidencing, mentioning, or
      pertaining to each DEFENDANT's responses to PLAINTIFFS' First Set oflnterrogatories and First
      Requests for Admissions filed concurrently herewith.

8.    Copies of any and all insurance policies in their entirety which insure any DEFENDANT for any
      legal liability to third parties for the year 2016.

9.    Any and all documents, correspondence, writings, or exhibits which DEFENDANT intends to
      introduce at the trial in this matter, whether for substantive, rebuttal, or impeachment purposes.


                                    CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

LoCicero, Esq, Thomas & LoCicero PL, attorneys for Defendant THE ASSOCIATED PRESS at

clocicero@tlolawfirm.com this 23'd day of April, 2018.



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                                  LAW OFFICE OF ALEX S. HORNIK, P.A.
                                       Attorney for Plaintiff
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                                      North Bay Village, Florida 33141
                                      Telephone:              (786) 275-6850
                                       Facsimile:             (786) 453-2360
                                      Primary email : ahornik@homiklaw.com
                                       Secondary email : alexhomikl @gmaiJ.com

                                        By: /s/ Alex S. Hornik, Esq.
                                                FBN 743895




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                                                                      ELEVENTH J UDlClAL CJRCU!T lN AND
                                                                      FOR MIAMI-DADE COUNTY, FLORIDA

                                                                   GENERAL JURISDICTION              DIVISION

                                                                   CASE NUMBER: - - - - - - - -
      NEIMAN NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.
      -----------------~
                                                             I

                              PLAINTIFFS' FIRST REQUEST FOR ADMISSIONS
                                            (To All Defendants)

                COME NOW the PLAINTIFFS, by and through their undersigned attorney, and pursuant to Rule

      1.370 of the Florida Rules of Civil Procedure, requests that each DEFENDANT admit or deny the

      following statements within the time prescribed under the Florida Rules of Civil Procedure:

      1.        Defendant did not review Plaintiffs' complaint in the lawsuit to which the following statement
                refers before publishing the article containing it: "The suit admits Nix and his company used
                bioidentical insulin like growth factor (IGF-1), which is derived from elk antlers and is on
                baseball's list of banned substances."

      2.        Bioidentical insulin like growth factor (IGF-1) is not on MLB 's list of banned substances.

      3.        Extracts from deer and elk antlers are not on MLB's list of banned substances.

      4.        PlaintniffNix never admitted in his 2016 lawsuit against MLB that his company used or sold any
                substance banned by MLB.

      5.       Neither Plaintiff ever admitted having sold any substance banned by MLB



                                           CERTIFICATE OF SERVICE


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       I HEREBY CERTIFY that a true and correct copy of the foregoing was forwarded to the process
server for service on Defendants this _ day of March, 2018.


                                   LAW OFFICE OF ALEX S. HORNIK, P.A.
                                       Attorney for Plaintiff
                                        1900 S. Treasure Drive, Suite #9-H
                                       North Bay Village, Florida 33141
                                       Telephone:             (786) 275-6850
                                       Facsimile:             (786) 453-2360
                                       Primary email: ahornik@homiklaw.com
                                       Secondary email : alexhomikl@gmail.com

                                          By: Isl Alex S. Hornik, Esq.
                                                  FBN 743895




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                                                                   FOR MIAMI-DADE COUNTY, FLORIDA

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                                                                   CASE NUMBER: 18-007998 CA (01)
      NEIMAN NIX and
      DNA SPORTS PERFORMANCE LAB, INC.,
      a Florida corporation,

            Plaintiff,

      vs.

      ESPN, INC., a Connecticut corporation,
      THE ASSOCIATED PRESS, INC. a New York
      nonprofit cooperative, and USA TODAY
      INTERNATIONAL CORPORATION,
      a Delaware corporation.

            Defendants.
      - - - - - - - - - - - - - - - - -I
        PLAINTIFFS' NOTICE OF SERVICE OF FIRST SET OF INTERROGATORIES TO ALL
                                    DEFENDANTS

              Plaintiff, NEIMAN NIX, by and through his undersigned attorney, hereby gives notice of the

      service of his First Set of Interrogatories on all Defendants pursuant to Rule 1.340 of the Florida Rules of

      Civil Procedure

                                          CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true and correct copy of the foregoing was emailed to Carol Jean

      LoCicero, Esq, Thomas & LoCicero PL, attorneys for Defendant THE ASSOCIATED PRESS at

      clocicero@tlolawfirm.com this 23'd day of April, 2018.

                                                    LAW OFFICE OF ALEX S.            HORl~IK,    P.A.
                                                    Attorney for Plaintiffs
                                                    1900 S. Treasure Drive, Suite #9-H
                                                    North Bay Village, Florida 33141
                                                    Telephone:              (786) 275-6850
                                                    Facsimile:              (786) 453-2360
                                                    Primary email: ahornik@horniklaw.com
                                                    Secondary email : alexhornik 1(a}gmail.com

                                                    By: /s/ Alex S. Hornik, Esq.
                                                            FBN 743895
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                                                               ELEVENTH JUDICIAL CIRCUIT IN AND
                                                               FOR MIAMI-DADE COUNTY, FLORIDA

                                                               GENERAL JURISDICTION DIVISION

                                                               CASE NUMBER: 18-007998 CA (01)
NEIMAN NIX and
DNA SPORTS PERFORMANCE LAB, INC.,
a Florida corporation,

      Plaintiff,

vs.

ESPN, INC., a Connecticut corporation,
THE ASSOCIATED PRESS, INC. a New York
nonprofit cooperative, and USA TODAY
INTERNATIONAL CORPORATION,
a Delaware corporation.

    Defendants.
___________________________________________/

          PLAINTIFF’ FIRST SET OF INTERROGATORIES TO ALL DEFENDANTS

        Plaintiffs, NEIMAN NIX and DNA SPORTS PERFORMANCE LAB, INC., by and through his
undersigned attorney, hereby propounds the following Interrogatories to all Defendants, to be answered
within time thirty (30) days hereof.
        As used herein "person" means the full name, present or last known address (designating which)
and telephone number. Any reference to the singular person, place, thing, or entity, including but not
limited to, any partnership, corporation, firm, proprietorship, association, or governmental body, shall
include the plural, as well as the singular, and the feminine as well as the masculine or neuter.


                                        INTERROGATORIES

1.      Identify by name, title, address, and telephone number the person(s) assisting in preparing the
        responses to these interrogatories.




2.      Describe with particularity the factual and legal basis for each and every defense which each
        Defendant has to the allegations of Plaintiff’s Verified Complaint and Demand for Jury Trial
        (“Complaint”).




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3.     Describe in detail the factual and legal basis for each item of damage which Defendant is claiming
       against either Plaintiff in this action, whether raised as an affirmative claim, counterclaim, or setoff,
       and for each such item of damage, state the amount and the method of computing the amount of
       such item of damage, including any mathematical formula(s) used.




4.     Describe in detail all efforts made and sources consulted by each Defendant to check the accuracy
       of the statement, “The suit admits Nix and his company used bioidentical insulin like growth factor
       (IGF-1), which is derived from elk antlers and is on baseball's list of banned substances.”




5.     List the names, addresses, and telephone numbers of all persons or entities claiming to have, or
       believed or known by each Defendant or their agents and attorneys to have any knowledge,
       information, or testimony concerning any of the issues, allegations, or subject matter of this lawsuit
       and describe the substance of each such person’s knowledge, information, or testimony.




6.     State the names, titles, addresses, and telephone numbers for any experts whom each Defendant
       has retained or intend to retain in this case or whom each Defendant intends to call as witnesses
       at trial, and describe each such witness’s qualification as an expert, the subject matter upon which
       the witness is intended to testify, the substance of the facts and opinions to which the witness is
       expected to testify, a summary of the grounds for each opinion, and state whether such experts have
       prepared any written reports.




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7.     State the name, address and telephone number of each and every person or entity claiming to have,
       or believed or known by Defendant, or its agents and attorneys to have possession, custody, or
       control, or any documents, correspondence, memoranda, writings, records, demonstrative evidence,
       or tangible evidence supporting, refuting, mentioning, or pertaining to any fact, allegation, or issue
       involved in this case, and as to each such person or entity, describe in detail the particular item each
       such person has or claims to have.




8.     State the name, address, and telephone number of each and every person who has made any
       statement(s) or remark(s) concerning any issue, allegation, or subject matter of this lawsuit, the
       date, time, and place of statement, the substance of the statement, and the person(s) to whom such
       statement or remark was made.




I understand that I am swearing or affirming under oath to the truthfulness of the answers to these
interrogatories and that the punishment for knowingly making a false statement includes fines
and/or imprisonment.


Dated: ______________________________                    By:____________________________________
                                                         Print Name:_____________________________
                                                         Title: __________________________________

STATE OF ________________)
                         )ss
COUNTY OF ______________)

       Acknowledged, sworn to, and subscribed to this day by ______________________, as

______________________ of _______________________________, to me known to be the person

described in and who executed the foregoing Answers to Interrogatories, and who produced his/her

______________________________ as identification.

       WITNESS my hand and official seal this____ day of ________________, 2018
.
                                                   NOTARY PUBLIC
                                                   Sign:______________________
                                                   Print:______________________
                                                   State of Florida at Large

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       My Commission Expires:




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